                                          UNITED STATES BANKRUPTCY COURT
                                                 FOR THE DISTRICT OF ARIZONA

                                               Audio Record of Hearing Held
Hearing Information:
                         Debtor:   BCGC CAPITAL GROUP, LLC
                  Case Number:     2:14-bk-06650-GBN                      Chapter: 11

          Date / Time / Room:      THURSDAY, JUNE 05, 2014 09:45 AM 6TH FLOOR #602


               Courtroom Clerk:    LUANN BELLER
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Matter:

              MOTION TO DISMISS CASE FILED BY SMASH BOXX, LLC.
              R / M #:   5/ 7

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